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 3 Telephone: (559) 385-1565

 4 Attorney for Victor Murray

 5

 6                                IN THE UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,                            CASE NO. 1:07-CR-156-03 LJO
 9
                                   Plaintiff,             STIPULATION REGARDING CONTINUANCE
10                                                        OF SENTENCING; FINDINGS AND ORDER;
                             v.                           REQUEST DENIED
11
     VICTOR MURRAY                                        DATE: June 26, 2017
12                                                        TIME: 8:30 p.m.
                                  Defendant               COURT: Hon. Lawrence J. O’Neill
13

14
                                                  STIPULATION
15
            1.       By previous order, this matter was set for sentencing on June 26, 2017 at 8:30 p.m.
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            2.       By this stipulation, defendant now moves to continue the sentencing until July 31st at
17
     8:30. The parties agree and stipulate, and request that the Court find the following:
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                     a)     Counsel for defendant desires additional time to review audio tapes obtained from
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            the probation office on June 20, 2017, and respond to them in writing. This date was the earliest
20
            that defense counsel could receive them.
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                     b)     Counsel for defendant believes that failure to grant the above-requested
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            continuance would deny counsel the reasonable time necessary for effective preparation, taking
23
            into account the exercise of due diligence.
24
                     c)     The government does not object to the continuance.
25
                     d)     Based on the above-stated findings, the ends of justice served by continuing the
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 1                case as requested outweigh the interest of the public and the defendant in a speedy

 2                sentencing.

 3 IT IS SO STIPULATED.

 4
     Dated: June 22, 2017                                  BENJAMIN B. WAGNER
 5                                                         United States Attorney
 6
                                                           /s/ KATHY SERVATIUS
 7
                                                           KATHY SERVATIUS
 8                                                         Assistant United States Attorney

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10

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12 Dated: June 22, 2017                                    /s/ JOHN MEYER
                                                           JOHN MEYER
13                                                         Counsel for Defendant
                                                           Victor Murray
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16
                                         FINDINGS AND ORDER
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           THE COURT RECEIVED AND REVIEWED THE AUDIOTAPES THIS MORNING
18
     AND SPENT 40 MINUTES LISTENING TO THEM. LISTENING TO AND RESPONDING TO
19
     40 MINUTES OF RECORDINGS DOES NOT JUSTIFY A CONTINUANCE. DENIED. THE
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     MATTER WILL GO FORWARD AS SCHEDULED.
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22 IT IS SO ORDERED.

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        Dated:   June 23, 2017                             /s/ Lawrence J. O’Neill _____
24                                              UNITED STATES CHIEF DISTRICT JUDGE

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